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  13                     UNITED STATES DISTRICT COURT

  14                    CENTRAL DISTRICT OF CALIFORNIA

  15 IN RE: KIA HYUNDAI VEHICLE                 Case No. 8:22-ML-3052-JVS-(KESx)
     THEFT MARKETING, SALES                     The Honorable James V. Selna
  16 PRACTICES, AND PRODUCTS
  17 LIABILITY LITIGATION                       OHIO GOVERNMENTAL ENTITY
                                                PLAINTIFFS’ OPPOSITION TO
  18                                            DEFENDANTS’ MOTION FOR
  19                                            JUDGMENT ON THE PLEADINGS
  20
  21
  22 This document relates to:
  23        OHIO GOVERNMENTAL
  24        ENTITY CASES
  25
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   1                                       I.   INTRODUCTION
   2         Years after this litigation was initiated, the Hyundai and Kia theft crisis rages
   3 on, with tragic and foreseeable consequences for the GE Plaintiffs and their
   4 constituents. Defendants seek to contort the Ohio Product Liability Act (“OPLA”) to
   5 shield themselves from all liability in Ohio, stretching the statute and the Ohio
   6 Supreme Court’s recent ruling to essentially abrogate any common-law claims for
   7 serious negligence with reckless indifference. Defendants move again to dismiss the
   8 Ohio GE Plaintiffs’ negligence claims—claims that are currently under review before
   9 the Ninth Circuit—based on a recent decision expressly limited to common law public
  10 nuisance claims.
  11         Defendants deprived this Court of jurisdiction to consider the present motion
  12 when they appealed the negligence claims to the Ninth Circuit. While this Court
  13 certified for interlocutory appeal a narrow question of law related to the existence of
  14 common law duty, Dkt. 298, Defendants have asked the Ninth Circuit to review the
  15 entirety of this Court’s Order, Dkt. 270, which largely denied Defendants’ motion to
  16 dismiss. Defendants make similar arguments to the Ninth Circuit, citing the same new
  17 Ohio authority, regarding the same claims that they now also ask this Court to dismiss.
  18 See Ninth Circuit Appellants’ Reply at *19. While the Ninth Circuit may well decline
  19 to consider arguments beyond the scope of this Court’s certified question, it is
  20 possible that the Court of Appeals will reach the issue and enter an order on the merits
  21 affirming this Court’s ruling that the Ohio common-law negligence claims are well-
  22 pled. Rather than invite the risk of inconsistent rulings, this Court should deny
  23 Defendants’ motion.
  24         If this Court nonetheless chooses to exercise jurisdiction over issues
  25 Defendants have also asked the Ninth Circuit to address, the Court should look no
  26 further than the text of OPLA. The statute abrogates common law “product liability
  27 claims,” which it defines, as pertinent to this motion, as claims arising from products
  28 that (1) seek non-economic “compensatory damages;” or (2) are predicated on the

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   1 interference with “a right common to the general public.” Ohio Rev. Code
   2 § 2307.71(A)(13). “Compensatory damages,” as used in OPLA and as used herein,
   3 only covers damages “for death, physical injury to person, emotional distress, or
   4 physical damage to property. . . .” Ohio Rev. Code § 2307.71(A)(13). It does not cover
   5 claims of pure economic loss. The Ohio GE Plaintiffs’ negligence claims expressly
   6 disclaim non-economic “compensatory damages” and do not allege or depend on the
   7 Court finding Defendants interfered with any public right. OPLA therefore has no
   8 effect on these claims and the Court should deny Defendants’ motion.
   9                                       II.   BACKGROUND
  10          Defendants argued OPLA abrogates the Ohio GE Plaintiffs’ common law
  11 public nuisance claims in their initial motions to dismiss the Consolidated
  12 Governmental Entities Complaint and Lorain’s First Amended Complaint. See Dkt.
  13 222 (Mot. to Dismiss CGEC) at 54; Dkt. 427 (Mot. to Dismiss Lorain’s FAC) at 8.
  14 The Court denied Defendants’ motions at that time because the scope of OPLA’s
  15 abrogation was “not immediately clear to the Court,” and the Ohio State Supreme
  16 Court was then “weigh[ing] this very question.” Dkt. 270 (Ord. re Defs.’ Mot. to
  17 Dismiss CGEC) at 14; Dkt. 596 (Ord. Denying Defs.’ Mot. to Dismiss Lorain’s FAC)
  18 at 7–8 (reaching the same conclusion).
  19          The scope of OPLA’s abrogation is grounded in its statutory text. OPLA is
  20 “intended to abrogate all common law product liability claims or causes of action.”
  21 Ohio Rev. Code § 2307.71(B). OPLA defined a “product liability claim” in 2005 as:
  22          a claim or cause of action that is asserted in a civil action pursuant to
              sections 2307.71 to 2307.80 of the Revised Code and that seeks to
  23
              recover compensatory damages from a manufacturer or supplier for
  24          death, physical injury to person, emotional distress, or physical damage
              to property other than the product in question, that allegedly arose from
  25
              [the design, manufacture, distribution, or warnings or failure to warn
  26          associated with a product].
  27
  28 //

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   1 Ohio Rev. Code § 2307.71(A)(13) (2005) (emphasis added). Under that definition,
   2 the product liability claims abrogated by OPLA are limited by both the type of claim
   3 and type of remedy sought.
   4          In 2007, in response to a lead paint public nuisance case, OPLA was amended
   5 to define “‘product liability claim’ [to] also include[] any public nuisance claim or
   6 cause of action at common law in which it is alleged that . . . a product unreasonably
   7 interferes with a right common to the general public.” S.B. 117, 126th Gen. Assemb.,
   8 Reg. Sess., 2006 Ohio Law File 198 (codified at Ohio Rev. Code § 2307.71(A)(13))
   9 (emphasis added).
  10          When this litigation began, it was unclear whether the 2005 remedy limitation
  11 from the general OPLA definition of a “product liability claim” extended to the 2007
  12 public nuisance amendment. At the time, courts had found OPLA did not abrogate
  13 public nuisance claims seeking only economic damages. See, e.g., In re Nat’l
  14 Prescription Opiate Litig., 622 F. Supp. 3d 584, 599 n.19 (N.D. Ohio 2022). In its
  15 recent ruling, the Ohio State Supreme Court clarified that post-2007 the “statutory
  16 definition of ‘product liability claim’ includes public-nuisance causes of action
  17 regardless of the kind of relief requested.” In re Nat’l Prescription Opiate Litig., ___
  18 N.E.3d ___, 2024 WL 5049302, at *4–5 (Ohio Dec. 10, 2024) (“Product-liability
  19 claims subsume all public-nuisance claims based on a product . . . The kind of relief
  20 requested is immaterial.”).
  21          The Ohio GE Plaintiffs do not dispute that the Ohio State Supreme Court’s
  22 decision is dispositive of their common law public nuisance claims in this action and
  23 stipulated to their dismissal. Dkt. 841.
  24          While the Ohio State Supreme Court was considering the scope of OPLA, this
  25 Court certified to the Ninth Circuit the narrow question of whether a negligence duty
  26 of care could arise under the common law of New York, Ohio, and Wisconsin, absent
  27 a special relationship. See Dkt. 298 at 1. Despite that narrow certification, Defendants
  28 argued that the Ninth Circuit could “review any other issue decided in the order on

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   1 appeal,” and invited the Ninth Circuit to specifically consider the effect of the Ohio
   2 Opiate Opinion. See Ninth Circuit Appellants’ Reply at *13. GE Plaintiffs argued that
   3 the Ninth Circuit should decline that invitation. But the Ninth Circuit could
   4 nonetheless reach OPLA’s effect on the Ohio GE Plaintiffs’ claims, meaning there is
   5 a substantial risk of inconsistent rulings.
   6                                       III.   ARGUMENT
   7          A.     This Court Should Not Risk Inconsistent Rulings.
   8          Defendants raise the same issues in this motion as they raised before the Ninth
   9 Circuit. In their reply before the Ninth Circuit, Defendants argue that “Plaintiffs’ Ohio
  10 public-nuisance claims are foreclosed by the Ohio Supreme Court’s recent decision
  11 holding that the Ohio Product Liability Act abrogates all common-law public-
  12 nuisance claims arising from the sale of products.” Appellants’ Reply at *19 (citing
  13 In re Nat’l Prescription Opiate Litig., 2024 WL 5049302 at *6–7). Similarly, on
  14 appeal, Defendants challenged the adequacy of the Ohio common-law negligence
  15 claims as pled, attempting to distinguish Cincinnati v. Beretta U.S.A. Corp., 2002-
  16 Ohio-2480, 95 Ohio St. 3d 416, based on an archaic distinction between malfeasance
  17 and tortious nonfeasance. Appellants’ Opening Brief at 23–24 n.6.
  18          As this Court recently stated in the context of a motion in the Consumer Track
  19 of this litigation, “‘the filing of a notice of appeal is an event of jurisdictional
  20 significance—it confers jurisdiction on the court of appeals and divests the district
  21 court of its control over those aspects of the case involved in the appeal.’” In re
  22 Hyundai Kia Theft Litigation, Order re: Motion for Equitable Relief, Dkt. 835 at 2
  23 (quoting Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)). In order
  24 to “‘avoid the confusion and waste of time that might flow from putting the same
  25 issues before two courts at the same time,’” courts generally do not reconsider issues
  26 pending before an appellate panel. Id. (quoting Kern Oil & Refining Co. v. Tenneco
  27 Oil Co., 840 F.2d 730, 734 (9th Cir. 1988)).
  28 //

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  1          That principle is well-settled, and militates against this Court’s consideration
  2 of this motion during the pendency of the Ninth Circuit appeal. See Coinbase, Inc. v.
  3 Bielski, 599 U.S. 736, 740 (2023) (Griggs principle is “well settled”); City of Los
  4 Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001)
  5 (applying Griggs principle in the context of an interlocutory appeal).
  6          The reasoning behind this commonsense principle is apparent here. Were this
  7 Court to issue a ruling in favor of Defendants on their motion, it would create an
  8 untenable “moving target” for the Ninth Circuit, modifying the order that is on appeal
  9 with regard to the claims certified for appeal. This material alteration of the issues on
 10 appeal would violate the Griggs principle. See Allan Ides, The Authority of a Federal
 11 District Court to Proceed After a Notice of Appeal Has Been Filed, 143 F.R.D. 307,
 12 322 (1992).
 13          Among the actions that impermissibly alter the status quo during the pendency
 14 of an interlocutory appeal are reconsiderations of Rule 12 motions like this one, or
 15 alterations of previous rulings. See id. at 325 n.113 (citing Pro Sales, Inc. v. Texaco,
 16 U.S.A., Div. of Texaco, Inc., 792 F.2d 1394, 1396 (9th Cir. 1986)). In SolarCity Corp.,
 17 an interlocutory appeal was filed regarding whether certain affirmative defenses
 18 applied as a matter of law. See SolarCity Corp. v. Salt River Project Agric.
 19 Improvement & Power Dist., No. 2:15-cv-00374, 2016 WL 5109887, at *3 (D. Ariz.
 20 Sept. 20, 2016). That appeal was found to have deprived the trial court of jurisdiction
 21 to consider the motion, as the Ninth Circuit’s ruling had the potential to substantially
 22 and permanently affect the rights of the parties with regard to claims on appeal. Id.
 23 The same applies here, and this Court should instead continue with other phases of
 24 the litigation without ruling on the merits of claims presently before the Ninth Circuit.
 25          Beyond the moving target concern, there is a substantial risk of conflicting
 26 rulings. By putting the question of OPLA abrogation at issue on appeal, and thereby
 27 inviting the Ninth Circuit to reach issues not included in the scope of this Court’s
 28 certified question, Defendants have created a scenario where simultaneous rulings

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  1 related to the abrogative effect of OPLA could issue from two different courts. See
  2 SolarCity Corp., 2016 WL 5109887, at *2 (distinguishing between interlocutory
  3 appeals of preliminary injunctions, which do not create a risk of inconsistent rulings
  4 on the merits, and interlocutory appeals of merits issues and defenses, which create
  5 looming risks of inconsistent rulings during the pendency of the appeal).
  6          Rather than rule on the merits of claims that are currently subject to an
  7 interlocutory appeal, the Court should simply terminate the motion without prejudice.
  8 Not only would this avoid the risk of inconsistent rulings, it would preserve judicial
  9 and litigant resources. See Yokois v. Arizona Dep’t of Corr., No. 2:16-cv-02856, 2020
 10 WL 8996587, at *1 (D. Ariz. May 20, 2020) (terminating motion without prejudice
 11 because it “would require the Court to consider aspects of the case involved in the
 12 appeal,” which would be “an inefficient use of judicial resources” for both courts to
 13 consider the same issues simultaneously) (internal quotations omitted). The Ninth
 14 Circuit’s oral argument was held on April 8, 2025, just over a month ago. The median
 15 time interval from oral argument to opinion or final order for non-prisoner civil
 16 appeals before the Ninth Circuit is 1.4 months. See U.S. Courts of Appeals Judicial
 17 Business, Table B-4-A: Median Times for Civil and Criminal Cases Terminated on
 18 the Merits (Sept. 30, 2024), https://www.uscourts.gov/sites/default/files/2025-
 19 01/jb_b4a_0930.2024.pdf.
 20          To avoid an inconsistent ruling and to promote judicial economy, this Court
 21 should terminate the instant motion without prejudice to refiling after the Ninth
 22 Circuit’s mandate issues.
 23          B.     Ohio GE Plaintiffs’ Negligence Claims Are Not “Product Liability
                    Claims” Under OPLA.
 24
 25          Defendants seek to extend abrogation to encompass any common law causes
 26 of action factually related to the manufacture, design, or distribution of a product,
 27 however fashioned. Defendants’ arguments in favor of this radical departure from
 28 Ohio law fly in the face of the Ohio State Supreme Court’s recent ruling, which

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  1 instructs courts to look to the plain text of the two statutory definitions of a “product
  2 liability claim” to determine the abrogative effect of OPLA. See In re Nat’l
  3 Prescription Opiate Litig., 2024 WL 5049302, at *7. Plaintiffs’ claims fall squarely
  4 outside of those definitions.
  5          There are two ways a cause of action can fall into the OPLA definition of a
  6 “product liability claim.” It can either be a common-law claim seeking non-economic
  7 “compensatory damages” from a manufacturer related to the design, manufacture,
  8 distribution, or promotion of a product, or it can be a “public nuisance claim or cause
  9 of action at common law in which it is alleged that . . . a product unreasonably
 10 interferes with a right common to the general public.” Ohio Rev. Code
 11 § 2307.71(A)(13)) (emphasis added). The analytical framework is simple. If a
 12 common-law claim seeks non-economic “compensatory damages” related to a
 13 product, it is a “product liability claim,” and abrogated by OPLA. Even if only
 14 economic damages are sought, the Ohio State Supreme Court clarified that OPLA
 15 abrogates common-law public nuisance claims related to a product. In re Nat’l
 16 Prescription Opiate Litig., 2024 WL 5049302, at *6. However, if a common law
 17 claim seeks only economic damages and is not premised on an invasion of a public
 18 right, it is not a “product liability claim” abrogated by OPLA. Ohio Rev. Code
 19 § 2307.71(A)(13).
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 27          GE Plaintiffs, and the Ohio State Supreme Court, interpret “public nuisance”
 28 to modify the nouns “claim or cause of action” in “public nuisance claim or cause of

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  1 action at common law,” (i.e., OPLA applies to (1) public nuisance claims and (2)
  2 public nuisance causes of action). Defendants appear to interpret the same phrase to
  3 mean any “cause of action at common law,” whether based in public nuisance or not,
  4 if the plaintiff alleges that the conduct related to a product interferes with any right
  5 common the general public. To reach this unsupported outcome, Defendants
  6 selectively omit the subjects of sentences, even when the Ohio State Supreme Court
  7 italicized those very words for emphasis. Compare Mot. at 9, 11 (Dkt. 823) with In
  8 re Nat’l Prescription Opiate Litig., 2024 WL 5049302, at *4. That court’s decision,
  9 when read completely, makes clear that OPLA does not abrogate negligence claims
 10 that do not seek non-economic “compensatory damages” and are not predicated on
 11 the invasion of a public right.
 12                 1.      OPLA Does Not Abrogate Negligence Claims that Do Not Seek
                            Non-Economic “Compensatory Damages”.
 13
 14          A plaintiff may bring a common law claim for negligence to recover economic
 15 damages stemming from a product without running afoul of OPLA. See Federated
 16 Rural Electric Management Corp. v. Electro Switch Corp., No. 2:19-cv-3049, 2020
 17 WL 3255144, *2 (S.D. Ohio 2020). While OPLA abrogates most common law
 18 product liability claims, Ohio Rev. Code § 2307.71(A)(13), common law claims
 19 arising from a product remain viable provided they seek only “economic loss.” See
 20 Federated Rural Electric Mgmt. Corp., 2020 WL 3255144 at *2 (citing LaPuma v.
 21 Collinwood Concrete, 661 N.E.2d 714, 716 (Ohio 1996)) (“a cause of action seeking
 22 only economic loss is not a ‘product liability claim’ under the OPLA”); accord Colfor
 23 Mfg., Inc. v. Macrodyne Techs., Inc., 668 F. Supp. 3d 718, 722 (N.D. Ohio 2023)
 24 (“The plaintiffs’ negligence . . . claims seek to recover only ‘economic damages and
 25 loss,’ including ‘the value of lost production time and lost profits.’ . . . Accordingly,
 26 [those claims] do not satisfy the statutory definition of a ‘product liability claim,’ and
 27 the OPLA does not abrogate them.”).
 28 //

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  1          Not only is this the precedent of Ohio federal and state courts, it flows directly
  2 from the plain language of OPLA itself. OPLA is clear that claims for economic loss,
  3 other than those for public nuisance, are not abrogated.
  4          Any recovery of compensatory damages for economic loss based on a
             claim that is asserted in a civil action, other than a product liability
  5
             claim, is not subject to sections 2307.71 to 2307.79 of the Revised
  6          Code, but may occur under the common law of this state or other
             applicable sections of the Revised Code.
  7
  8 Ohio Rev. Code § 2307.72(C). The Ohio GE Plaintiffs’ claims seek economic loss
  9 and are not “product liability” claims under either definition provided in section
 10 2307.71(A)(13)). Thus, they are not abrogated by OPLA, according to the plain text
 11 of the Act itself.
 12          Defendants argue, without authority, that LaPuma is no longer good law. See
 13 Mot. at *8. Not so. LaPuma addressed whether, under the first paragraph of OPLA’s
 14 definition of a “product liability claim,” a claim that concerned a product was
 15 nonetheless outside the purview of OPLA if it sought only economic damages.
 16 LaPuma, 661 N.E.2d at 716. The recent ruling from the Ohio Supreme Court does not
 17 change that analysis. It clarified that the purely-economic damages carveout in the
 18 first paragraph does not apply to the public nuisance claims that are covered by the
 19 second paragraph defining a “product liability claim.” Ohio Rev. Code
 20 § 2307.71(A)(13). If the Ohio State Supreme Court intended to overrule its prior
 21 decision, it would have done so expressly. Instead, it noted that while the legislature
 22 expressed a desire to overrule Carrel, the legislature “made no mention of our
 23 decision in LaPuma.” In re Nat’l Prescription Opiate Litig., 2024 WL 5049302 at *2.
 24          Defendants cherry pick from the legislative history, conflating statements
 25 regarding an intent to abrogate all common law product liability claims with an intent
 26 to abrogate all common law claims related to products. See Mot. at *8. Setting aside
 27 that OPLA is not so sweeping as explained above, the Ohio State Supreme Court
 28 made clear in its ruling that resort to the legislative history of that Act is improper, as

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  1 the text of the statute is not ambiguous. See In re Nat’l Prescription Opiate Litig.,
  2 2024 WL 5049302, at *7. The text of the first definition of a “product liability claim,”
  3 is unambiguously limited to claims seeking non-economic “compensatory damages.”
  4 Ohio Rev. Code § 2307.71(A)(13). GE Plaintiffs have disclaimed seeking such relief
  5 through their negligence claims. As such, those claims are outside the ambit of OPLA.
  6                 2.      The Negligence Claims Are Not Public Nuisance Claims.
  7          Painting with a broad brush, Defendants treat the negligence claims as public
  8 nuisance claims subject to OPLA. But they are not and they do not fit within the
  9 second definition of a “product liability claim” under OPLA because they are not
 10 predicated on an invasion of a public right.
 11          The Ohio GE Plaintiffs’ negligence claims have already been considered by the
 12 Court. See Dkt. 270 (Ord. re Defs.’ Mot. to Dismiss CGEC). The Court found that the
 13 “theory of negligence,” even if novel, fits within the contours of common-law
 14 negligence claims. See Dkt. 270 at 9. Put simply, Defendants’ unreasonable decision
 15 to omit industry-standard anti-theft technology breached a duty of reasonable care and
 16 foreseeably led to increased costs on GE Plaintiffs, given the public nature of cars and
 17 the “basic duties of local law enforcement and highway patrol.” See id. at 8.
 18          This theory is clearly and plainly alleged in the CGEC. For instance, Ohio GE
 19 Plaintiffs allege that the “Defendants owed and continue to owe the Ohio GE Plaintiffs
 20 a duty not to expose the Ohio GE Plaintiffs to an unreasonable risk of harm,” and that
 21 the breach of that duty foreseeably led to economic damages for the Ohio GE
 22 Plaintiffs. See CGEC at ¶¶ 350, 354, 359, 361, 364. These are textbook allegations
 23 for negligent conduct that exposes a plaintiff—the individual Ohio GE Plaintiffs—to
 24 an unreasonable risk of criminal conduct. See Restatement (Second) of Torts § 302B.
 25          These claims are properly brought by the GE Plaintiffs, as only they can recover
 26 for the economic losses the municipalities incurred. See CGEC at ¶¶ 367–68;
 27 Cincinnati v. Beretta U.S.A. Corp., 95 Ohio St.3d 416, 428 (2002).
 28 //

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  1          Defendants gesture towards merger, arguing that the GE Plaintiffs’ negligence
  2 claims should be considered public nuisance claims. This argument is based on a
  3 squares-and-rectangles fallacy. While negligent conduct is an essential element of a
  4 qualified public nuisance claim, negligence claims like those asserted by the GE
  5 Plaintiffs do not have “interference with a right common to the general public” as an
  6 essential element. See 1 CV Ohio Jury Instructions, 401.01 Negligence. In other
  7 words, all qualified nuisance claims in Ohio may be negligence claims, but it does not
  8 follow that all negligence claims are public nuisance claims. Thus, while qualified
  9 public nuisance claims and negligence claims brought in the same complaint based
 10 on the same conduct may be merged at the summary judgment stage, assuming both
 11 have survived, see Allen Freight Lines, Inc. v. Consol. Rail Corp., 64 Ohio St.3d 274,
 12 276, 595 N.E.2d 855, 856 (1992), it would be premature to do so through a Rule 12
 13 motion, see Paulus v. Citicorp N. Am., Inc., No. 2:12-CV-856, 2013 WL 5487053, at
 14 *7 (S.D. Ohio Sept. 30, 2013). And there is no basis to do so here since the Ohio GE
 15 Plaintiffs have stipulated to the dismissal of their common law public nuisance claims.
 16 Dkt. 841.
 17          It does not matter that the GE Plaintiffs initially brought public nuisance claims
 18 in addition to their negligence claims. Ohio courts allow plaintiffs to plead both OPLA
 19 and non-OPLA claims in the same action, even if they arise out of the same nexus of
 20 facts, as alternative theories of liability. See, e.g., Colfor Mfg., Inc. v. Macrodyne
 21 Techs., Inc., 668 F. Supp. 3d 718, 721–23 (N.D. Ohio 2023); Perry v. Ethicon, Inc.,
 22 No. 2:20-CV-6592, 2022 WL 912214, at *2–7 (S.D. Ohio Mar. 29, 2022); Darwish
 23 v. Ethicon, Inc., No. 1:20-CV-1606, 2020 WL 7129582, at *3–4 (N.D. Ohio Dec. 4,
 24 2020); Great N. Ins. Co. v. BMW of N. Am. LLC, 84 F. Supp. 3d 630, 649 (S.D. Ohio
 25 2015); Huffman v. Electrolux N. Am., Inc., 961 F. Supp. 2d 875, 881–82 (N.D. Ohio
 26 2013). Whether analyzed textually, based on OPLA’s express language; under the
 27 Erie doctrine, as Fed. R. Civ. P. 8(d)(2) authorizes pleading in the alternative; or based
 28 on the Ohio state constitution, see Huffman, 961 F.Supp.2d at 881 on reconsideration

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  1 sub nom. Huffman v. Electrolux Home Products, Inc., No. 3:12-CV-2681, 2013 WL
  2 5591939 (N.D. Ohio Sept. 30, 2013), the weight of the authority in Ohio allows
  3 plaintiffs to plead OPLA and non-OPLA claims simultaneously, without fear of
  4 abrogation-through-contamination.
  5          Similarly, Defendants conflate the “reckless disregard of the safety and health”
  6 GE Plaintiffs allege to support their negligence claims with an invasion of a public
  7 right alleged to support a public nuisance claim. See Mot. at 10–11. GE Plaintiffs
  8 plead that allegation in support of their claim for punitive damages: Defendants’
  9 misconduct foreseeably created an unreasonable risk of economic harm to the GE
 10 Plaintiffs, and such reckless disregard warrants punitive damages.1 See 1 CV Ohio
 11 Jury Instructions, 401.41 Reckless conduct, wanton or willful misconduct. It is akin to
 12 an aggravating factor. Yet, by pointing to specific language related to the now-
 13 abrogated Ohio common-law public nuisance claims, Defendants seek to characterize
 14 the entire complaint as sounding in public nuisance. See Mot. at 10–11. That is not
 15 how pleading multiple claims in the alternative works, and it is not how these
 16 pleadings are structured. The duty alleged in the negligence claims is to the GE
 17 Plaintiffs, not their residents, and the remedies sought are economic and punitive
 18 damages, which are non-OPLA remedies.
 19          Separately, Plaintiffs alleged that Defendants interfered with rights common to
 20 the public in support of the common law public nuisance claims they have since
 21 stipulated to dismiss. See, e.g., Dkt. 175 (CGEC) at ¶¶ 327, 330, 331; Dkt. 841.
 22 Defendants may not impute those allegations to the negligence claims. Even if they
 23
 24 1 To be clear, Defendants’ misconduct continues to cause unconscionable harm in
 25 Plaintiffs’ communities. Earlier this month, in Cincinnati, an 18-year-old and, later,
    an officer both died in connection with an incident involving a stolen Kia. See David
 26 Ferrara, et al., Father accused of killing sheriff’s deputy after police fatally shot son.
 27 What we know, Cincinnati Enquirer (last updated May 6, 2025, 6:05 PM),
    https://www.cincinnati.com/story/news/2025/05/04/father-accused-of-killing-
 28 hamilton-co-sheriffs-deputy-what-we-know/83443948007/.

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  1 could, the Court can disregard the factual allegations supporting the now-dismissed
  2 public nuisance claims for Ohio. But if those vestigial references need to be removed,
  3 leave to amend to do so should be freely granted.
  4           Defendants demand—without basis—that the Court bar the GE Plaintiffs from
  5 amending their pleadings to alter any contested language following the dismissal of
  6 their common law public nuisance claims. See Mot. at 11–13. Defendants argue that
  7 the disclaimer of non-economic damages in the negligence claims has no impact on
  8 OPLA abrogation and that the same disclaimer would render any leave to amend to
  9 add an OPLA claim futile. Id. Defendants argument presupposes a bizarre bardo, a
 10 space where claims can be both abrogated under OPLA because they could have been
 11 pled as an OPLA claim, and simultaneously not cognizable under OPLA because they
 12 were not pled as an OPLA claim. The Court should reject Defendants’ paradoxical
 13 position. In the minority of cases where courts have found dismissal of a non-OPLA
 14 claim is proper, such dismissal is typically granted without prejudice to afford the
 15 plaintiff the opportunity to replead. See Mitchell v. Proctor & Gamble, No. 2:09-CV-
 16 426, 2010 WL 728222, *3–5 (S.D. Ohio Mar. 1, 2010). This Court should do the same
 17 if it concludes OPLA abrogates the GE Plaintiffs’ negligence claims.
 18                                       IV.   CONCLUSION
 19           Despite putting the same claims at issue before the Ninth Circuit, with the same
 20 arguments, through their interlocutory appeal, Defendants now improperly seek an
 21 order from this Court regarding those claims. The Motion should be denied, without
 22 prejudice to re-urge it if the Ninth Circuit’s forthcoming order does not foreclose such
 23 relief.
 24           Even if the Court were to reach the merits, the negligence claims are not
 25 “product liability claims,” as defined by OPLA. They are not OPLA claims under the
 26 first paragraph, as they do not seek non-economic “compensatory damages.” Ohio
 27 Rev. Code § 2307.71(A)(13). They are not OPLA claims under the second paragraph,
 28 as they are not public nuisance claims or predicated on an invasion of a right common

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  1 to the public. The OPLA abrogation inquiry should stop there, as the Ohio State
  2 Supreme Court’s recent ruling counseled.
  3
  4 DATED this 19th day of May 2025.
  5
  6 Respectfully submitted,
  7
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  1                             CERTIFICATE OF COMPLIANCE
  2          The undersigned counsel of record for Governmental Entities Plaintiffs
  3 certifies that this brief contains 4,371 words, which complies with L.R. 11-6.1.
  4
  5 DATED this 19th day of May 2025.
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  1                                  CERTIFICATE OF SERVICE
  2          I certify that on May 19, 2025, I electronically filed the foregoing document
  3 with the Clerk of the Court using the CM/ECF system which will send notification
  4 of such filing to all counsel of record.
  5
  6                                                  KELLER ROHRBACK L.L.P.
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 16          4932-0670-0865, v. 13

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